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                            EXHIBIT 21
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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS



 PSARA ENERGY, LTD.,                                §
                                                    §
                  Plaintiff,                        §
                                                    §
 versus                                             §        CIVIL ACTION NO. 1:20-CV-00293
                                                    §
 SPACE SHIPPING, LTD., GEDEN                        §
 HOLDINGS, LTD., ADVANTAGE                          §
 SPRING SHIPPING, LLC, GENEL                        §
 DENIZCILIK NAKLIYATI A.S.,                         §
 ADVANTAGE TANKERS, LLC,                            §
 MEHMET EMIN KARAMEHMET,                            §
 GULSUN NAZLI KARAMEHMET-                           §
 WILLIAMS, TUGRUL TOKGOZ,                           §
 MEHMET MAT, FLEETSCAPE SPRING,                     §
 LLC, FLEETSCAPE ADVANTAGE                          §
 HOLDINGS, LLC,                                     §
                                                    §
                  Defendants.                       §



                                     ORDER OF DISMISSAL

          Pending before the court is the Plaintiff’s “Notice of Voluntary Dismissal.” Doc. No. 65.

 The parties have reached a settlement agreement.

          Accordingly, the above case is DISMISSED WITH PREJUDICE with each party to bear

 its own costs of court. The court retains jurisdiction to enforce any settlement. The Clerk is

 directed to close the case and deny all pending motions as moot.
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        It is further ORDERED that the bonds paid into the registry of the court as security for

 Plaintiff’s claims (Doc. No. 34-38) are to be released to the parties entitled to return of the same.

        THIS IS A FINAL JUDGMENT.


         SIGNED at Beaumont, Texas, this 10th day of February, 2021.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
